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                     UNITED STATES DISTRICT COURT

                     WESTERN DISTRICT OF LOUISIANA

                               MONROE DIVISION

 UNITED STATES OF AMERICA                    CASE NO. 3:18-CR-00228-01

 VERSUS                                      JUDGE TERRY A. DOUGHTY

 ROBERT E. ROBINSON                          MAG. JUDGE KAREN L. HAYES


                            MEMORANDUM ORDER

        Pending before the Court is a Motion for Compassionate Release [Doc. No.

 46] filed by Robert E. Robinson (“Robinson”) on May 18, 2020. The Government

 filed an initial response to the Motion on May 28, 2020 [Doc. No. 53].           A

 Supplemental Memorandum was filed by Robinson on June 8, 2020 [Doc. No. 58].

 A Supplemental Response was filed by the Government on June 24, 2020 [Doc. No.

 62].

        This is Robinson’s first motion for compassionate release. For reasons set

 forth herein, Robinson’s Motion for Compassionate Release is DENIED.

        I. Background

        On June 5, 2019, Robinson entered a plea of guilty to Possession with Intent

 to Distribute Marijuana and Possession of a Firearm in Furtherance of a Drug

 Trafficking Crime. On August 19, 2019, Robinson was sentenced to twelve (12)
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 months on the Possession with Intent to Distribute Marijuana and to a sixty (60)

 month consecutive sentence for Possession of a Firearm in Furtherance of Drug

 Trafficking Crime, for a total of 72 months. Robinson’s projected release date is

 February 29, 2024.

       II. Jurisdiction

       On January 3, 2020, Robinson filed an application for compassionate release

 to the Bureau of Prisons (“BOP”), citing diabetes, kidney disease, and heart issues.

 The request was denied by the BOP on February 27, 2020. An appeal to the Warden

 was also denied.

       Although it concedes Robinson has exhausted his administrative remedies as

 to his medical condition, the Government argues that Robinson has not exhausted

 his administrative remedies with regard to the COVID-19 specific allegations, as

 Robinson’s motion to the BOP filed on January 3, 2020, did not address COVID-

 19 issues.

       Under 18 U.S.C. § 3582(c)(1)(A), a Court may reduce a term of imprisonment

 upon finding “extraordinary and compelling circumstances” consistent with

 guideline policy statements. Under the statute, as amended by the First Step Act,

 the Court may act upon motion of the Director of the BOP, or upon motion of the

 defendant, after the defendant has fully exhausted his administrative remedies.

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        Therefore, the requirement that an inmate first exhaust his administrative

 remedies within the BOP is jurisdictional. United States v. Garcia 606 F.3d 209

 (5th Cir. 2010).

        Robinson argues that there is a split among district courts on whether courts

 may consider additional evidence and arguments that arise after the initial

 compassionate release request. Robinson also maintains that nothing in the statute

 precludes the Court from considering factors that arise after the initial compassionate

 release request, and after the thirty-day wait period elapses.

        Since this issue is jurisdictional, this Court believes it does NOT have

 jurisdiction to determine the COVID-19 specific request. However, this Court does

 have jurisdiction and will consider the medical conditions cited by Robinson in his

 Motion for Compassionate Relief. Robinson may address the COVID-19 specific

 issue after exhausting his administrative remedies with BOP.

        III. Law and Analysis

          A judgment, including a sentence of imprisonment, “may not be

    modified by a district court except in limited circumstances.” Dillon v. United

    States, 560 U.S. 817, 825 (2010). Under 18 U.S.C. § 3582(c), a court generally

    “may not modify a term of imprisonment once it has been imposed,” except in

    three circumstances: (1) upon a motion for reduction in sentence under 18

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    U.S.C. § 3582(c)(1)(A); (2) “to the extent otherwise expressly permitted by

    statute or by Rule 35 of the Federal Rules of Criminal Procedure,” 18 U.S.C. §

    3582(c)(1)(B); and (3) where the defendant was sentenced based on a

    retroactively lowered sentencing range, 18 U.S.C. § 3582(c)(2).

          In this case, Robinson moves to modify his sentence under 18 U.S.C. §

    3852(c)(1)(A). Under § 3852(c)(1)(A)(i), a court may reduce a prisoner's

    sentence “if it finds that” (1) “extraordinary and compelling reasons warrant

    such a reduction” and (2) the reduction is “consistent with applicable policy

    statements issued by the Sentencing Commission.”

          Prior to 2018 only the Director of the BOP could file these kinds of

    compassionate release motions.      In 2018, Congress passed and President

    Trump signed the First Step Act, which among other actions, amended the

    compassionate release process. Under the First Step Act, § 3852(c)(1)(A) now

    allows prisoners to directly petition courts for compassionate release. Before

    filing such motions, however, prisoners must exhaust their administrative

    remedies.

          After a prisoner exhausts his administrative remedies, a district court may

    reduce a defendant’s term of imprisonment if the court finds “extraordinary and

    compelling reasons warrant such a reduction” and “such a reduction is

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    consistent with applicable policy statements issued by the Sentencing

    Commission.” 18 U.S.C. § 3852(c)(1)(A)(i).

          IV. Extraordinary and Compelling Reasons

          The         Sentencing   Commission’s       policy    statement     regarding

    compassionate release is consistent with the statute and provides, in pertinent

    part, as follows:

           Upon motion of the Director of the Bureau of Prisons under 18
           U.S.C. § 3582(c)(1)(A), the court may reduce a term of
           imprisonment (and may impose a term of supervised release with
           or without conditions that does not exceed the unserved portion of
           the original term of imprisonment) if, after considering the factors
           set forth in 18 U.S.C. § 3553(a), to the extent that they are
           applicable, the court determines that—

                (1)     extraordinary and compelling reasons warrant the
                        reduction; . . .

                (2)     the defendant is not a danger to the safety of any other person
                        or to the community, as provided in 18 U.S.C. § 3142(g); and

                (3)     the reduction is consistent with this policy statement.

    In the commentary following the policy statement, the Sentencing Commission

    identifies three specific reasons that are considered “extraordinary and

    compelling” as well as a broader provision for reasons deemed “extraordinary

    and compelling.”

          1. Extraordinary and Compelling Reasons.—Provided the defendant

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            meets the requirements of subdivision (2) [regarding absence of

            danger to the community], extraordinary and compelling reasons

            exist under any of the circumstances set forth below:

         (A) Medical Condition of the Defendant.—

            (i) The defendant is suffering from a terminal illness (i.e., a serious

               and advanced illness with an end of life trajectory). A specific

               prognosis of life expectancy (i.e., a probability of death within a

               specific time period) is not required. Examples include metastatic

               solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end stage

               organ disease, and advanced dementia.

            (ii) The defendant is—

               (I) suffering from a serious physical or medical condition,

               (II) suffering from a serious functional or cognitive impairment, or

         (B) experiencing deteriorating physical or mental health because of the

            aging process, that substantially diminishes the ability of the

            defendant to provide self-care within the environment of a

            correctional facility and from which he or she is not expected to

            recover.

            (B)    Age of the Defendant.—The defendant

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                     (i) is at least 65 years old;

                    (ii) is experiencing a serious deterioration in physical or
                    mental health because of the aging process; and (iii) has served
                    at least 10 years or 75 percent of his or her term of
                    imprisonment, whichever is less.

             (C)    Family Circumstances.—

                    (i) The death or incapacitation of the caregiver of the
                    defendant’s minor child or minor children.

                    (ii)The incapacitation of the defendant’s spouse or registered
                    partner when the defendant would be the only available
                    caregiver for the spouse or registered partner.

                    (D) Other Reasons.—As determined by the Director of the
                    Bureau of Prisons, there exists in the defendant’s case an
                    extraordinary and compelling reason other than, or in
                    combination with, the reasons described in subdivisions (A)
                    through (C).

    U.S.S.G § 1B1.13 cmt. n. 1.

       The defendant bears the burden to establish circumstances exist under which

    he is eligible for a sentence reduction under 18 U.S.C. § 3582(c)(1)(A)(i). United

    States v. Ennis, EP-02-CR-1430-PRM-1, 2020 WL 2513109, at *4 (W.D. Tex.

    May 14, 2020) (“[T]he defendant has the burden to show circumstances meeting

    the test for compassionate release.” (citing United States v. Stowe, No. CR H-11-

    803 (1), 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25, 2019))); United States v.

    Wright, Crim. Action No. 16-214-04, 2020 WL 1976828, at *6 (W.D. La. Apr.

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    24, 2020) (Petitioner has the “burden of showing the necessary circumstances, or

    a combination of circumstances, that would warrant relief under the

    compassionate release statute.”).

          The only “extraordinary and compelling reason” that would apply in this

    case is “(A) Medical Condition of the Defendant.”

          V. Medical Condition of Defendant

          The only extraordinary and compelling reason that applies in this case is

    “(A) Medical Condition of Defendant.” In his request, Robinson maintains he

    has multiple health conditions, including diabetes, heart issues, and kidney

    disease.

          Title 18, United States Code, Section 3582(c)(1)(A) requires that

    extraordinary and compelling reasons that warrant a reduction are “consistent

    with applicable policy statements issued by the Sentencing Commission.” The

    Court finds that Robinson’s general complaint of diabetes, heart issues and

    kidney disease is not consistent with extraordinary or compelling circumstances

    as provided by the policy statement and its commentary. Robinson does not

    suffer from a terminal illness. He is not suffering from a serious physical or

    medical condition, serious functional or cognitive impairment, or deteriorating

    physical or mental health because of the aging process that “substantially

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    diminishes the ability of the defendant to provide self-care within

    the…correctional facility.” Id. at cmt. n.1(A)(ii)(I-III). As such, his alleged

    medical issues do not meet the extraordinary and compelling standard as set by

    the policy statement.

          Although Robinson does have serious medical issues, Robinson fails to

    show that his current condition is sufficiently severe to diminish his ability to

    provide self-care. See United States v. Mazur, Crim. Action No. 18-68, 2020

    WL 2113613, at *1, 3-4 (E.D. La. May 4, 2020).

          VI. Danger to the community

          Robinson must also prove that he would not be a danger to the

    community, if released. In his request, Robinson maintains he is not a violent

    offender or any threat to society. Robinson asks for his sentence to be reduced

    to 10 years of probation with home confinement. The Court must consider

    whether a prisoner remains a danger to the community before granting

    compassionate release as required by U.S.S.G. § 1B1.12(2) with reference to

    18 U.S.C. § 3142(g). Furthermore, 18 U.S.C. § 3582 and the policy statement

    requires the Court to consider the sentencing factors set forth in 18 U.S.C. §

    3553(a).

          Section 3142(g) sets out the factors courts must consider in deciding

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    whether to release a defendant pending trial. The factors weighing a petitioner’s

    danger to the community include “the nature and circumstances of the offense

    charged,” “the history and characteristics of the person,” including “the person's

    character, physical and mental condition, family ties, ... community ties, past

    conduct, history relating to drug or alcohol abuse, [and] criminal history,” and

    “the nature and seriousness of the danger to any person or the community that

    would be posed by the person's release.” Similarly, § 3553(a), which sets forth

    the factors to consider in initially imposing a sentence, requires the Court to

    consider:

          (1) the nature and circumstances of the offense and the history and

                characteristics of the defendant; [and]

          (2) the need for the sentence imposed—

                   (A) to reflect the seriousness of the offense, to promote respect for

                       the law, and to provide just punishment for the offense;

                   (B) to afford adequate deterrence to criminal conduct;

                   (C) to protect the public from further crimes of the defendant; and

        The court must consider all pertinent circumstances, including the §3553(a)

    factors and possible danger to the community. 18 U.S.C. § 3582(c)(1)(A).




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        Robinson has not demonstrated he will not pose a danger to the community

    if he was released or that his release comports with the applicable § 3553(a)

    factors. Robinson’s underlying conviction and criminal history both indicate

    he will pose a danger to the community and that he performs poorly under

    supervision.

        Robinson’s underlying conviction is for Possession with Intent to Distribute

    Marijuana and Possession of Firearms in Furtherance of a Drug-Trafficking

    Crime. At the sentencing, Robinson was held responsible for approximately

    7.8 kilos of marijuana. Of the three firearms that he possessed, one was an

    Anderson (AR-15 style) pistol loaded with 30 rounds of ammunition. Three

    AR-15 magazines were recovered as were over 500 rounds of various caliber

    ammunition. Robinson was already a convicted felon and not supposed to be

    in possession of firearms. He admitted that he sold marijuana even under

    supervision with the Louisiana State Probation and had been selling marijuana

    for five or six years. He said he would bring marijuana from California to sell

    in the Monroe, Louisiana area because the market was better.

        Robinson’s criminal history includes a Louisiana 2015 felony conviction

    for conspiracy to distribute a CDS (marijuana) in which a package containing

    7 pounds of marijuana was sent to him from California, for resale. Robinson

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    also has Texas 2017 possession of marijuana (11.5 pounds) conviction.

    Robinson also has a Louisiana 1997 misdemeanor possession of marijuana

    conviction and has a 2014 arrest for arrest of a controlled substance in prison.

        Additionally, as the Government points out, Robinson filed previously a

    Motion to Vacate his guilty plea, essentially arguing that he should be allowed

    to withdraw his guilty plea because marijuana should not be illegal and/or a

    Controlled Dangerous Substance. Based upon Robinson’s history, it is likely

    Robinson would commit another crime and pose a danger to the community, if

    released.

        Finally, Robinson has only served a fraction of his sentence. At the time

    he requested compassionate release, the BOP calculated he had only served

    only 18.2% of his sentence. His projected release date is February 29, 2024.

    This Court does not believe Robinson has served enough of his sentence to

    reflect the seriousness of the offense, to afford adequate deterrence to criminal

    conduct, and to protect the public from further crimes of the defendant.

        VII. Conclusion

        For the above and foregoing reasons,

        IT IS ORDERED that the Motion for Compassionate Release filed by

    Robert E. Robinson is DENIED.

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        MONROE, LOUISIANA, this 17th day of July, 2020.



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                                     TERRY A. DOUGHTY
                                     UNITED STATES DISTRICT JUDGE




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